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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

UNITED STATES OF AMERICA,                             )
     PLAINTIFF                                        )
                                                      )
v.                                                    )      Civil No. _2:21-CV-02127_________
                                                      )
$96,690 UNITED STATES CURRENCY                        )
       DEFENDANT PROPERTY                             )

                       VERIFIED COMPLAINT FOR FORFEITURE

        Plaintiff, United States of America, by its attorneys, David Clay Fowlkes, Acting United

States Attorney for the Western District of Arkansas, and the undersigned Assistant United States

Attorney, brings this complaint and alleges as follows in accordance with Supplemental Rule G(2)

of the Federal Rules of Civil Procedure:

                                  NATURE OF THE ACTION

        1.     This is civil forfeiture action against the Defendant Property, $96,960 in United

States Currency involved in violations of Title 21 U.S.C. § 841(a)(1), that is subject to forfeiture

pursuant to 21 U.S.C. § 881(a).

                                  THE DEFENDANT IN REM

        2.     The Defendant Property is $96,690 in United States Currency, seized by the

Arkansas State Police (ASP) during a January 28, 2021, traffic stop occurring in Crawford County,

Arkansas, which is located in the Western District of Arkansas, Fort Smith Division. The

Defendant Property is presently in the custody of the Drug Enforcement Administration (DEA).

                                  JURISDICTION AND VENUE

        3.     Plaintiff brings this action in rem in its own right to forfeit and condemn the

Defendant Property. This Court has subject matter jurisdiction over an action commenced by the



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United States under 28 U.S.C. § 1345 and over an action for forfeiture under 28 U.S.C. §

1355(b)(1)(A), 1355(b)(1)(B) and 1395(b).

               4.      This Court has in rem jurisdiction over the Defendant Property pursuant to

28 U.S.C. § 1355(b).

               5.      Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(1), because

acts or omissions giving rise to the forfeiture occurred in this district and pursuant to 28 U.S.C. §

1395(b), because the property was found in this district.

                                   BASIS FOR FORFEITURE

       6.      The Defendant Property is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6)

as it constitutes property that was used or intended to be used in exchange for controlled substances

or represents the proceeds of trafficking in controlled substances; or was used or intended to be

used to facilitate a violation of Title II of the Controlled Substances Act 21 U.S.C. §§ 801 et seq.

                                               FACTS

The forfeiture is based on the following facts:

       7. The Arkansas State Police (“ASP”) seized the Defendant Property from Osamah

            Aburas during a January 28, 2021, traffic stop.

       8. On January 28, 2021, in the early morning, Arkansas State Police Trooper First Class

            Josh Elmore (Trooper Elmore) stopped a 2019 Dodge Caravan van traveling eastbound

            on Interstate 40 after he observed a traffic violation.

       9. The observed violation occurred near mile marker #7 of Interstate 40 in Crawford

            County, Arkansas, and the traffic stop itself was conducted near mile marker #8.

       10. Osamah Aburas (Aburas) was the driver and sole occupant of the 2019 Dodge Caravan

            and he provided a Missouri Driver’s License to Trooper Elmore.



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   11. Trooper Elmore asked Aburas if he was coming from Kansas City. Aburas told Trooper

      Elmore that he was coming from California. Trooper Elmore asked Aburas why he

      didn’t fly back home. Aburas told Trooper Elmore he had bank business in Memphis,

      Tennessee.

   12. Trooper Elmore asked Aburas how long he was in California and Aburas replied that

      he was in California for one day for personal business.

   13. The travel details Aburas provided did not make sense to Trooper Elmore. Trooper

      Elmore then asked for verbal consent to search the van and Aburas granted him consent.

   14. Trooper Elmore found a large amount of United States Currency inside two plastic

      sacks (one green and one black) and concealed in the rear floorboard passenger area of

      the vehicle. Each sack contained several banded bundles of United States Currency in

      difference denominations. Aburas told Trooper Elmore it was around $100,000.

   15. In total there was $96,690 United States Currency in the van, which is the Defendant

      property that is the subject of this complaint.

   16. Trooper Elmore asked Aburas why he was carrying so much currency and Aburas

      informed the Trooper that Aburas was taking it to the bank in Memphis, Tennessee.

   17. Aburas further stated that he was delivering the money to the bank for a company called

      "C to R" and that he had paperwork for the money in his suitcase.

   18. The Trooper asked Aburas why this company would have him transport this amount of

      U.S. currency across the country only to deposit it into a bank in Memphis and Aburas

      replied that a bank-to-bank wire transfer would be delayed for a week or more, so

      Aburas was driving the money directly to the bank so the company "C to R" could

      receive the money sooner.



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   19. While at the scene of the stop, Trooper Elmore presented his certified K-9 partner,

      "Beau" to the outside of the vehicle. K-9 Beau displayed a change in behavior,

      described as the following: "K-9 Beau did a head check, sniffing the rear passenger

      side fender well intensely, before sitting as his indication." This K-9 is certified through

      the Poleizischutzhundprufungen (PSPI), in accordance with the Arkansas State Police's

      Canine Program policies.

   20. Trooper Elmore took custody of the Defendant property and Aburas agreed to follow

      Trooper Elmore to the local office in Crawford County, Arkansas, for further

      processing.

   21. On January 28,2021, at that office Detective Lanny Reese using an ion swab collection

      tool from a Smiths Detection 400B scanning machine, conducted ion swabs of the

      following items: three random U.S. currency bundles found within the green sack, the

      outside of the green sack, three random U.S. currency bundles found within the black

      sack, and the outside of the black sack. With Aburas's consent, additional ion scans

      were taken from Aburas's hands, face, cell phones, and wallet. These scans were

      conducted with strict accordance to the procedures recommended by Smiths Detection.

   22. The Smiths Detection machine can determine amounts of illegal drugs by analyzing

      swabbed samples.

   23. On February 1,2021, Detective Lanny Reese submitted the swabbed samples taken

      from January 28,2021, into the Smiths Detection machine. The results of the following

      swab samples tested positive for the presence of cocaine: two of the three U.S.

      currency-bundles swabbed from within green sack, a swab taken from the outside of

      the green sack, and the three U.S. currency bundles swabbed from within the black



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               sack.


                                     CLAIM FOR RELIEF
         WHEREFORE the United States prays that     a   warrant for a:rest for the Defendant property,

$96,690 in United States Currency, be issued; that due notice be given to all parties to appear
                                                                                                and

show cause as to why the forfeiture of this property should not be decreed; that judgment
                                                                                          be entered

declaring the Defendant property to be condemned and forfeited to the United States
                                                                                    of America
for disposition according to law; and that the United States of America be granted such
                                                                                        other and

further relief as this Court may deem just and proper, together with the costs and disbursements
                                                                                                 of
this action.

                                             Respectfu lly submitted,
                                             DAVID CLAY FOWLKES
                                             ACTING T]NITED STATES ATTORNEY



                                     BY:W'W
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                                              YERITICATION
        I, Mike Brooks, hereby verifu and declare under penalty of perjury that I am a Special

Agent with the DEA, that I have read the foregoing Verified Complaint in
                                                                         Rem and know the
contents thereof, and that the matters contained in the Verified Complaint
                                                                           are true to my own

knowledge, except that those matters herein stated to be alleged on information
                                                                                and belief and          as

to those matters I believe them to be true.

        The sources of my knowledge and information and the grounds of my
                                                                          belief are the official
files and records ofthe United States, information supplied to me by other
                                                                           law enforcement offrcers

in state and local agencies,     as   well as my investigation of this case, together with others, as   a

Special Agent with the DEA.

       Pursuant to 28 U.S.C .    5 1746,I hereby verify    and declare under penalty of perjury that the

foregoing is true and correct.

Dated tnis   30*aayof July, 2021.


                                                       il,R,*t^
                                                  Mike Brooks
                                                  Special Agent
                                                  Drug Enforcement Administration
